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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION
                                  www.flmb.uscourts.gov

In re:                                                        Case No. 24-21209-LMI
                                                              (Jointly Administered)
SHIFTPIXY, INC., et al.1
                                                              Chapter 11
                Debtor.
                               /

    EX PARTE MOTION BY SEQUOR LAW FOR LEAVE TO ATTEND REMOTELY
        THE HEARING SCHEDULED FOR DECEMBER 16, 2024, AT 9:30 A.M.

         Sequor Law (“Sequor Law”), counsel for Golden Taco, Inc., Century Tacos, Inc., Pacific

Coast Taco, Inc., Tacos 2000, Inc. and Los Angeles West Taco, Inc., by and through its

undersigned counsel, hereby moves the Court for leave to attend the hearing scheduled for

December 16, 2024, at 9:30 a.m. (the “Hearing”) remotely via Zoom Video Communications (the

“Motion”), and in support thereof states as follows:

         1.     On November 18, 2024, ShiftPixy, Inc. (the “Debtors”) filed an Expedited Motion

for (I) Entry of an Order (A) Approving Certain Bidding Procedures and the Form and Manner of

Notice Thereof, (B) Scheduling an Auction and a Hearing on the Approval of the Sale of All of

Substantially All of the Debtors’ Remaining Assets, (C) Establishing Certain Assumption and

Assignment Procedures and Approving Manner of Notice Thereof, and (D) Scheduling a Hearing

to Approve Assumption and Assignment of the Assumed Contracts; (II) Entry of an Order (A)

Authorizing the Debtors’ Entry Into an Asset Purchase Agreement; and (B) Authorizing the Sale

of All or Substantially All of the Debtors’ Assets Free and Clear of All Encumbrances; (III) Entry




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 The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital
Management, Inc. The address of the Debtors is 4101 NW 25th Street, Miami, FL 33142.
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of an Order Approving the Assumption and Assignment of the Assumed Contracts; and (IV)

Related Relief (the “Sale Motion”) [Docket Entry No. 60].

       2.      On December 4, 2024, this Court entered an Order on the Sale Motion and

scheduled a hearing on the sale and the assumption and assignment for December 16, 2024 at 9:30

a.m. [Docket Entry No. 97].

       3.      On December 11, 2024, the Debtors filed an Expedited Motion for the Entry of an

order Converting the Debtors’ Chapter 11 Cases to Cases Under Chapter 7 of the Bankruptcy Code

Upon the Closing of the Sale (the “Motion to Convert”) [Docket Entry No. 109] and an Expedited

Motion to Authorize DGIM Law, PLLC and the Chief Restructuring Officer to File First and Final

Fee Applications and Shorten Time for Their Consideration (the “Motion to Authorize”) [Docket

Entry No. 111].

       4.      On December 12, 2024, this Court entered an order granting Debtor’s Ex-Parte

Motion to Shorten Time for the Hearing on the Motion to Convert [Docket Entry No. 113] and an

Order Granting the Motion to Authorize [Docket Entry No. 115] (together, the “Orders”). The

Orders scheduled hearings on the Motion to Convert and the Motion to Authorize for December

16, 2024 at 9:30 a.m. (the “Hearings”).

       5.      Under Section (d) of Your Honor’s Requirements and Procedures for Remote

Attendance at Hearings, an ex parte motion requesting leave to attend remotely for good cause

shown may be filed in emergency or unforeseen circumstances, as soon as reasonably practicable

in advance of the hearing.

       6.      Participating counsel from Sequor Law was already scheduled to travel and be out

of the jurisdiction when the expedited hearings were scheduled. Accordingly, Sequor Law submits




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that the circumstances constitute good cause to authorize their attendance at the Hearing remotely

via Zoom Video Communications.

       WHEREFORE, Sequor Law respectfully requests entry of an order, substantially in the

form attached hereto as Exhibit A, granting it leave to attend the Hearing remotely via Zoom

Video Communications.

       I HEREBY CERTIFY that a true and correct copy of the foregoing has served upon all

interested parties registered to receive notice via this Court’s CM/ECF electronic notification

system on December 12, 2024.

       Date: December 12, 2024                      Respectfully submitted,
                                                    SEQUOR LAW
                                                    1111 Brickell Avenue, Suite 1250
                                                    Miami, FL 33131
                                                    lflorin@sequorlaw.com
                                                    Telephone:     (305) 372-8282
                                                    Facsimile:     (305) 372-8202

                                                    By:     /s/ Leyza B. Florin
                                                            Leyza B. Florin
                                                            Florida Bar No.: 104639

24-21209-LMI Notice will be electronically mailed to:

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Leyza Barbara Florin on behalf of Creditor Century Tacos, Inc.
lflorin@sequorlaw.com, jdiaz@sequorlaw.com

Leyza Barbara Florin on behalf of Creditor Golden Taco, Inc.
lflorin@sequorlaw.com, jdiaz@sequorlaw.com

Leyza Barbara Florin on behalf of Creditor Los Angeles West Taco, Inc.

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Leyza Barbara Florin on behalf of Creditor Tacos 2000, Inc.
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Isaac M Marcushamer, Esq. on behalf of Interested Party ReThink Human Capital Management,
                                               4
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                       Exhibit A
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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
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In re:                                                        Case No. 24-21209-LMI
                                                              (Jointly Administered)
SHIFTPIXY, INC., et al.2
                                                              Chapter 11
                Debtor.
                               /

              ORDER GRANTING EX PARTE MOTION BY SEQUOR LAW FOR
              LEAVE TO ATTEND REMOTELY THE HEARING SCHEDULED
                       FOR DECEMBER 16, 2024, AT 9:30 A.M.

         THIS MATTER came before the Court on the Ex Parte Motion by Sequor Law for Leave

to Attend Remotely the Hearing Scheduled for December 16, 2024, at 9:30 a.m. (the “Motion”)

[Docket Entry No. __], filed by Sequor Law. The Court, having considered the Motion, and having

found good cause for the relief set forth herein, hereby

         ORDERS that:

         1.     The Motion is GRANTED.

         2.     Sequor Law, counsel for Golden Taco, Inc., Century Tacos, Inc., Pacific Coast

Taco, Inc., Tacos 2000, Inc. and Los Angeles West Taco, Inc., is authorized to attend the hearing

scheduled for December 16, 2024, at 9:30 a.m. via Zoom Video Communications.

                                               # # #


Submitted by:
Leyza B. Florin, Esq.
SEQUOR LAW
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 The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital
Management, Inc. The address of the Debtors is 4101 NW 25th Street, Miami, FL 33142.
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(Attorney Florin shall serve a conformed copy of the foregoing upon all interested parties and file
a Certificate of Service with this Court)




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